EXHIBIT 16
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                                UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

  STRAGENT, LLC, et al.,                               §
                                                       §
  v.                                                   §        No. 6:11-cv-421-TBD-JDL
                                                       §
  INTEL CORPORATION.                                   §

                                              AMENDED ORDER

                   The Court issues the instant Order to correct Doc. No. 272. Defendant Intel

  Corporation’s Motion in Limine No.9 is GRANTED.

   Stragent
  Motions in                             Subject Matter                                       Disposition
    Limine
      1           Any evidence, testimony, argument, or reference to
                  pending patent reexamination requests or proceedings               GRANTED
                  regarding the patents-in-suit or related patents
        2         Any evidence, testimony, argument, or reference to
                                                                                     GRANTED as
                  any patent not included in Intel’s Second
                                                                                     INSTRUCTED by the
                  Supplemental Invalidity Contentions as evidence of
                                                                                     Court 1
                  invalidity
        3         Any evidence, testimony, argument, or reference to                 GRANTED as
                  any of Intel’s patents, including, but not limited to the          INSTRUCTED by the
                  number of patents owned by Intel                                   Court 2
        4         Any argument or suggestion that Intel practices the
                  prior art, including but not limited to any suggestion
                  that Intel does not infringe because it practices the
                                                                                     DENIED
                  prior art or any evidence, or argument comparing the
                  functionality of any Intel accused product to any
                  purported prior art
        5         Any evidence, testimony, argument, or reference to
                  the expert analysis, report, or opinion of Intel’s
                  excluded expert, Dr. Lorin Hitt, from any Intel                    DENIED 3
                  witness, including Intel’s damages expert, Ms. Mary
                  Woodford



  1
    A reference not charted pursuant to P.R. 3-3 may not be used to prove anticipation or obviousness but may be used
  as to secondary considerations..
  2
    Intel to approach the bench to extend beyond expert reports and Intel’s general innovative nature.
  3
    Ms. Woodford shall present her own opinions but may base those opinions on information provided by Dr. Hitt.
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    Intel
  Motions in                     Subject Matter                         Disposition
   Limine
      1        Evidence relating to Intel’s consideration of BBN’s
                                                                        DENIED
               offer to sell the patents
      2        References to Intel’s Assertion of the Attorney-Client   AGREED by the parties
               Privilege                                                as per Doc. No. 253 ¶ 1
      3        Evidence regarding unrelated BBN development             AGREED by the parties
               work and military work                                   as per Doc. No. 253 ¶ 2
      4        New claim construction opinions in Dr. Stone’s
                                                                        DENIED
               rebuttal report on invalidity
      5        Testimony by experts in unrelated cases and              AGREED by the parties
               challenges to that testimony                             as per Doc. No. 253 ¶ 3
      6        Evidence that the parties’ counsel in this case
                                                                        GRANTED
               represented parties in the Lattice case
      7        Damages for alleged infringement of the asserted
                                                                        GRANTED
               method claim
      8              .
               Evidence   of invention before March 2001                AGREED by the parties
                                                                        as per Doc. No. 253 ¶ 4
      9        References to the “clear and convincing” standard in
                                                                    GRANTED
               the Texas Family Code



                   So ORDERED and SIGNED this 27th day of February, 2014.




                                                  ___________________________________
                                                             JOHN D. LOVE
                                                  UNITED STATES MAGISTRATE JUDGE
